Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 1 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 2 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 3 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 4 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 5 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 6 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 7 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 8 of 11
Case 22-10998-JKS   Doc 1    Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 9 of 11
Case 22-10998-JKS   Doc 1     Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 10 of 11
Case 22-10998-JKS   Doc 1     Filed 02/02/22 Entered 02/08/22 09:28:39   Desc
                            Petition Page 11 of 11
